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13
                        UNITED STATES DISTRICT COURT FOR THE
14
                   NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
15
                                                           Case No. 5:11-cv-02449-EJD-PSGx
16   DOE I, DOE II, Ivy HE, DOE III, DOE IV,
     DOE V, DOE VI, ROE VII, Charles LEE,                  Assigned to the Honorable Edward J. Davila,
17   ROE VIII, and LIU Guifu,                              U.S.D.J.
18
                     Plaintiffs,                           [PROPOSED] ORDER GRANTING
19           vs.                                           PLAINTIFFS’ MOTION FOR LEAVE TO
                                                           FILE A SECOND AMENDED
20   CISCO SYSTEMS, INC., John CHAMBERS,                   COMPLAINT
     Thomas LAM, Owen CHAN, Fredy
21   CHEUNG, and DOES 1-100,                               Action Filed: May 19, 2011
                                                           FAC Filed: Sept. 2, 2011
22
                    Defendants.                            Hearing: September 20, 2013
23                                                         Time: 9:00 a.m.
                                                           Courtroom: 4, 5th Floor
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                      [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOT. FOR LEAVE TO FILE A SECOND AMENDED COMPL.
                                                                                   Case No. 5:11-cv-02449-EJD-PSG
      Case 5:11-cv-02449-EJD Document 101-3 Filed 08/01/13 Page 2 of 2



 1                                          [PROPOSED] ORDER

 2          After considering the Motion for Leave to File a Second Amended Complaint (“Motion for

 3   Leave to Amend”) filed by Plaintiffs Doe 1, Doe II, Ivy He, Doe III, Doe IV, Doe V, Doe VI, Roe

 4   VII, Charles Lee, Roe VIII, and Liu Guifu (“Plaintiffs”), and further pleadings and records filed with

 5   this action; any oral or documentary evidence that may be presented at the hearing; and any other

 6   materials properly before the Court; and GOOD CAUSE HAVING BEEN SHOWN, this Court

 7   finds and orders as follows:

 8          1.      IT IS HEREBY ORDERED that Plaintiffs’ Motion for Leave to Amend to add two

 9   plaintiffs and newly-ascertained facts directly relating to the decision in the recent Supreme Court

10   ruling in Kiobel v. Royal Dutch Petroleum Co., 569 U.S. ____ (slip op.), 133 S.Ct. 1659 (2013)

11   be and hereby is GRANTED.

12          2.      IT IS FURTHER ORDERED that Plaintiffs’ Second Amended Complaint, filed as

13   Exhibit A to the Motion to Amend, shall be deemed filed with this Court and served on Defendants

14   Cisco Systems, Inc., John Chambers, and Fredy Cheung as of the date of this Order.

15

16          IT IS SO ORDERED.

17
     Dated: ________________________                  _________________________________________
18
                                                             The Honorable Judge Edward J. Davila
19                                                      Judge of the United States District Court for the
                                                        Northern District of California, San Jose Division
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                      [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOT. FOR LEAVE TO FILE A SECOND AMENDED COMPL.
                                                                                   Case No. 5:11-cv-02449-EJD-PSG
